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           An Analysis of Instructional Faculty Salary Equity in the Florida Agricultural and
                                  Mechanical University College of Law



                Prepared by the Florida A&III University Office of Institutional Research




                                             August 2015


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Introduction

         This report presents the findings from an analysis of instructional faculty salaries within
the Florida Agricultural and Mechanical University (FAMU) College of Law. The study was
conducted at the request of the university's Provost, and in response to recently raised concerns
about potential salary inequities within the college. This study is not intended to advise on
potential salary inequities relating to any specific individual instructional faculty member within
the College of Law. Rather, its purpose is to provide insights into potential macro level
disparities that may be contributed to by a number of factors. Moreover, it is important to note
that salary outliers at either end of the pay spectrum do not necessarily imply systemic
discrimination as an array of internal and external factors may contribute to variations in salaries.
Some of these factors cannot be modeled, and determinations about their potential
                                                                                       impacts
require a more in-depth qualitative analysis. These include factors such as faculty performance,
prior professional experience and prior salary history, among others (University of Louisville,
2014).

         The remainder of this study is organized as follows. In Section 1 we present an overview
of instructional faculty and salaries within the College of Law. This is followed in Section 2 by a
description of the methodological approach and data used in the statistical analysis. Empirical
results from the statistical analysis are presented in Section 3. Finally, in Section 4 we provide a
summary of findings and potential next steps that may be helpful to both the university and
College of Law's leadership teams in identifying and remedying potential inequities.



Section 1: Overview of FAMU 2014-15 College of Law Instructional Faculty and
                                                                             Average
Salaries

        The study sample for this analysis was comprised of all full-time instructional
                                                                                          faculty
who were employed in the College of Law during the 2014-2015 academic year. The
university's official employee data file reports that forty-two (42) instructional faculty were
employed in the FAMU College of Law during the 2014-15 academic year. Table provides a             1


breakdown of all College of Law instructional faculty by rank and gender for the
                                                                                     specified time
period.



                   Table 1: 2014-15 College of Law Instructional Faculty by Rank and Gender

                                        % All                             % All
                                                      % of                               % of
            Rank          # Female    COL Inst.                 #Male    COL Inst.                 Total
                                                      Rank                               Rank
                                       Faculty                            Faculty
    Professor                     5       11.90%      35.71%         9      21.43%       64.29%        14
    Assoc. Professor             10      23.81%       71.43%         4       9.52%       28.57%        14
    Assistant
    Professor                     0       0.00%        0.00%         1       2.38%      100.00%         1




    Instructor                   10      23.81%       76.92%         3       7.14%       23.08%        13
    Total                        25      59.52%       59.52%        17      40.48%       40.48°A       42




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        Average and median salaries for instructional faculty in the college were computed by
gender  and  rank. As Table 2 shows, for the 2014-15 academic year the average and median
salaries for male College of Law instructional faculty exceeded those of female instructional
faculty at both the Professor and Associate Professor ranks. The average salary for males holding
the rank of Professor exceeded the average for females at the same rank by $17,691. However,
the median salary for male College of Law faculty at the rank of Professor exceeded the female
median by a smaller margin of $5,008.

                                    Table 2: College of Lan Average and Median Salary by Rank (2014)
                                 Male                                       Female                                               All
     Rank                      Merage          Median                                             Median
                   #                                         #
                                                                          ANerage                                             Aserage          Median
                                                                                                                 #
                               Salary          Salary                     Salary                  Salary                      Salary           Salary
Professor              9   $     158,085   $     151,847          5   $      140,394          $     146,839
                                                                                          —
                                                                                                                     14   $      151,766   $     150.087
Assoc. Professor       4   $     117377    $     112,685         10   $      109,142          $     109,510               $
                                                                                                                     14         111,609    $     109556
Asst. Professor        1   $      99,880   $      99,880          0                                                   1
                                                                             -                      -

                                                                                                                          $      99,880    $      99,880
Instructor             3   $      75,518   $      79,280         10   $          78,088       $         81,000       13   $      77,495    $      81,000


        The average salary for male Associate Professors exceeded that of female Associate
Professors in the college by $8,635. In a pattern similar to that observed at the Professor rank,
while the median salary for male Associate Professors exceeded that of female Associate
Professors in the College of Law during the 2014-15 academic year, at $3,175 the margin was
smaller than the margin between the average salaries.

        During the 2014-15 academic year only one instructional faculty member in the College
of Law held the rank of Assistant Professor. As such, there is no basis for
                                                                            gender-based
comparisons at this rank. It is, however, worth noting that the number of instructional faculty at
the rank of Assistant Professor has declined dramatically from ten (10) during the 2010-11
academic year to just one (1) during the 2014-15 academic year.

        With respect to full-time instructional faculty in the College of Law at the Instructor rank,
the average salary for women exceeded that of males by $2,570. The margin of difference for
median salaries was smaller, however, with the median salary of female instructors in the
College of Law exceeding that of males by $1,720.
        When assessing salary equity, comparisons based on average salaries are likely to be
influenced by outliers as greater weight may be given to salaries at the lower and higher
extremes. Comparisons based on median values are less prone to the effects of extreme values
and may provide a more accurate basis for
                                           comparing salaries.
         The following series of charts provide some historical perspective on trends in average
salaries for the College of Law instructional faculty. As Chart shows, while average salaries for       1


male and female College of Law faculty holding the Professor rank were relatively close
                                                                                           during
the 2009-2010 academic year, the following years were characterized by growth in the average
salaries of male professors, and relative stasis in the averages for females at that rank.
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                      Chart 1: Trends in College of Law Average Salaries
                                                                             (Professors)
          $170,000

          $160,000                                                                                                                                             •
                                                                                                                                                                                 58,085


         $150,000

         $140,000
                                                                •

                                                                                $137,.;.                                    •




                                                                                                                                       $05,890
         $130,000         _,.                             -




                                                                    12 7,741


         $120,000
                                     iagift11.7,363
                                                                                $113,646
         $110,000

         $100,000


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                                                                                                        Male


        Chart 2 below shows that average salaries for male College of Law instructional faculty
at the Associate Professor rank have historically been
                                                       higher than the average salaries of their
female counterparts. The gap between the average salaries of male and female
                                                                               faculty at the
Associate Professor rank appears to have narrowed some in the 2014-15 academic year.




                     Chart 2: Trends in College of Law Average Salaries
                                                          (Associate Professors)
         $140,000

         $130,000
                                                                                                                                                           _
                                                                                                                                                                    $126,017

         $120,000
                                                                     6 332                                                                                                   117,777
                                                                               $113,611                           $114,606
                                              111,912
         $110,000                  108,023
                                                                                                                                                       •




                                                                                                                                       103,162
         $ 100,000                                            :',100,0413

                                             $94,648

          $90,000               40,000


          $80,000
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        Chart 3 below displays the historical trend in average salaries at the Assistant Professor
rank. In 2011 the number of assistant professors in the
                                                         College of Law decreased to 4 from 10
the previous year. This reduction appears to be attributable in
                                                              part  to the attrition of one
                                                                                          (1)  one
instnictional faculty member at that rank, and the promotion of five (5) others to the rank of
Associate Professor. Three (3) of the five promoted faculty were female. Each of the faculty
promoted frorn Assistant Professor to Associate Professor experienced salary increases of
approxirnately 9%.

                     Chart 3: Trends in College of Law Average Salaries
                                                       (Assistant Professor)
         $110,000


         $100,000                                                                                                                                         •
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                                                 830                                                                         86:000
                                                         $94,1
                             •
                                 500                                                $92,665
          $90,000                                      --'111167'          •
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                                                         o•neineFemale                   .41— Male


        Chart 4 provides a historical snapshot on average salaries for male and female
instructional faculty at the Instructor rank in the College of Law. While the chart shows that the
average salaries for female faculty have historically been higher than those of males, these
differences appear to have decreased in recent years.


                     Chart 4: Trends in College of Law Average Salaries
                                                                    (instructor)
         $110,000
         $100,000                                                                                Slmonn

          $90,000
                                           583,880                                  583,645
          $80,000                                                                                           `"'fitioti1111111--s4444,4-fas
                                                                     $ 72,900
          $70,000          $70,333
                                                         61,111                           1.:
          $60,000
                                                                                     •



                                                                                                 $S/1,495
                                           $52,574
          $50,000
          $40,000                                                    $40,004

          $30,000
          $20,000
                                 04:             0           Ocb               6)                                                     ,s,°`      <•')
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                                                                                                                                              Ntu•




                                                        —4—Female                         E.,-Male


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        While these data are suggestive of gender-based disparities in salaries for instructional
faculty at the Professor and Associate Professor ranks within the College of Law, they provide
only a basis for inference and empirical exploration for potential contributions of gender and
other factors to such disparities. The remainder of this analysis is dedicated to detailing and
discussing findings from the OIR's empirical investigation into factors that might influence
salaries within the FAMU College of Law.




Section 2: Methodology

        The study sample for this analysis was comprised of full-time, tenure and non-tenure
earning instructional faculty within the College of Law during the 2014-2015 academic year. The
College of Law Dean was excluded from the analysis due to the typically higher administrative
responsibilities and lower teaching loads associated with that position, and because academic
Deans are excluded for the purpose of reporting instructional
                                                                faculty to the American
Association   of University Professors (AAUP) and other organizations which collect information
on instructional faculty. Instructional faculty holding administrative titles of Associate Dean,
however, were included in the analysis because they are commonly included in reporting
instructional faculty (i.e. AAUP). Because the study analyses potential disparities within rank,
Assistant Professors were also excluded since only one faculty member held that rank during the
study observation period.

        Multiple regression is the most commonly used statistical technique for analyzing faculty
salary equity. While an array of predictors can be used, the most commonly used predictive
variables in such models include: years of experience (years since terminal
                                                                               degree); seniority
(years at the institutional), education level (highest degree earned) and discipline (Emory
University Office of Institutional Research, 2002); Other independent variables used in faculty
equity studies may include gender, race, administrative positions, and tenure status (University
of Louisville Office of Institutional Research, 2014).

        Due to the small sample size, a series of stepwise multiple regression models were run.
Unlike a standard multiple regression model where all variables would be entered into a model
(and formal hypotheses for the effects of each variable would be posited), the focus of a stepwise
regression model is predicting the effects of the best combination of predictors on the dependent
variable.

         In a stepwise multiple regression model, predictor variables are entered into the model
one at a time based on their estimated magnitude of contribution to the
                                                                           prediction equation.
Additional variables are added only to the extent that they attain a level of statistical
                                                                                          significance
within the model. The addition of variables ends when no additional variables add anything of
statistical significance the regression equation. Accordingly, there is a potential that not all
independent variables listed in the regression command will be included in the final estimation
equation.

       For the current study, salary and demographic data for instructional faculty within the
College of Law were extracted from the university's official fall 2014 employee data file. Since

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there was only one (1) instructional faculty member in the College of Law at the rank of
Assistant Professor, that rank was excluded from the analysis. Accordingly,
                                                                              only data for full-
time instructional faculty carrying the ranks of Professor, Associate Professor and Instructor
were included for model estimation purposes. The resulting study sample included fourteen (14)
College of Law instructional faculty at the Professor rank, fourteen (14) instructional faculty at
the Associate Professor rank and thirteen (13) instructional faculty carrying the rank of
Instructor.

        Four models were run to estimate the effects of various variables on salary equity within
the College of Law. The first model estimated the effects of a series of
                                                                         independent variables on
College of Law tenure-earning instructional faculty salaries. This included faculty at both the
Professor and Associate Professor ranks. Again, because there was only one instructional
                                                                                            faculty
member in the College of Law at the Assistant Professor, relationships between the selected
independent variables and salary could not be modeled. Additionally, because publication
productivity may be an important factor in determining salaries for faculty at the Professor and
Associate Professor ranks, and because data on the publication productivity of Instructors were
not available, Instructors were excluded from this model.

        The remaining three models estimated the effects of a series of independent variables on
salaries within each rank (Professor, Associate Professor and Instructor)
                                                                          individually.
Descriptions of the modelsdependent and independent variables follow below:



Dependent Variable:
        The dependent variable used in each of the models was the annual salary for each faculty
member. The salaries for all ranked instructional faculty whose annual contracts were for
durations other than nine (9) months were converted to nine-month equivalent salaries in
accordance with the methodology endorsed and used by the American Association of University
Professors (AAUP).



Independent Variables:
        The following is a listing and description of independent variables used in each of the
multiple regression models.
              1.   Gender: The analysis uses a dichotomous dummy variable coded with a
                   value of "1" for female and "0" for male faculty;
              2.   Years in Rank: This is a continuous variable captures the total number
                   of years that a faculty member has held his/her current rank;
              3.   Years Since Hire: This is a continuous variable which captures the
                   amount of time that an individual has been
                                                               employed by the university;
              4.   Years since Highest Degree: This continuous variable which indicates
                   the amount of time since the attainment of highest degree is used as a
                   proxy for professional experience;
              5.   Years Tenured: This variable is a continuous measure which accounts
                   for the amount of time that a faculty member has been tenured. For
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                         faculty members in the study that have not yet earned tenure, the value
                         for this metric is O.
                      6. Rank: Dummy variable identifying College of Law instructional faculty
                         members as either "ProfessoC or "Associate Professor." This variable is
                         used in Model 1 only, and "Professors" serves as the comparison group
                         for analysis purposes.
                      7. Administrative Role: Dummy variable identifying College of Law
                         instructional faculty serving in administrative capacities (e.g. Associate
                         Deans). The variable was coded "0" if the faculty member did not serve
                         in such a capacity and "1" if they did.
                      8. Number of Publications: Continuous variable
                                                                            measuring the
                         number of publications since the year 2000.


    Section 3: Empirical Results

Model 1: Joint Model for Tenure Earning Faculty (Professors and Assoc. Professors)

           Summary statistics for each of the continuous variables used in Model 1: Professor and
    Associate Professor are presented in Table 4a.


                   Variable                       Obs              Mean                 Std. Dex.       Min          Max
    Salary (2014-15)                                28                 131,688               26,352       86,727      187,430
    Years Since Degree                              28                    23.61                 9.88          4.00         45.00
    Years in Rank                                   28                      3.92                2.91          0.03          8.97
    Years Tenured                                   28                      3.83                4.44          0.00         13.03
    Years Since Hire                                28                      7.43                3.66          0.03         13.05
    Publications                                    28                      6.57                5.46          0.00         20.00
    1. Includes Instructional Faculty at Professor and Assoc. Professor Ranks
                                                                                only;
    2. Excludes College of Law Dean




        Table 4b presents regression coefficients for Model (Professors and Associate               1


Professors). Independent variables in the model with significance levels of .1 or lower (P < .1)
are denoted in Table 4b with asterisks as noted. The model
                                                              suggests that rank, years in rank and
number of publications played significant roles in determining salaries. Not
                                                                               surprisingly, rank
influenced instructional faculty salaries within the College of Law with the model estimating that
instructional faculty at the Associate Professor rank earned on average $30,304 less than full
Professors in the college (P < .01).1 Years in rank had a positive effect with each additional year
within rank accounting for on average for approximately $1,853 in additional salary when
controlling for other factors (P ( .1). The number of publications also appears to have had a
positive effect with each unit increase in the number of publications accounting for $1,487 when
controlling for other factors (P < .05). With respect to gender, the model found that on average


1
 Assistant professors were excluded due to the fact that only one full-time instructional
                                                                                          faculty member in the
College of Law held that rank during the 2014-15 academic year. Instructors were not included as data on their
publications were not available and accordingly could not be incorporated into the model.
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 being male accounted for $8,626 in higher salary when compared to females. The difference was
 not, however, statistically significant in the model.

                   Table 4b: Model Results (College of Law: Professor and Assoc.
                                                                                             Professor)

                                                                                 (1)
                                 VARIABLES                                   Salary

                                 Rank                                      -30304***
                                                                            (6182)
                                 Publications                               1487**
                                                                            (595.1)
                                 Years In Rank                               1853*
                                                                            (1025)
                                 Male                                        8626
                                                                            (6454)
                                 Constant                                  156106***
                                                                            (13668)

                                 Observations                          28
                                 R-squared                           0.747
                                           Standard errors in parentheses
                                          ***
                                              p<0.01, ** p<0.05, * p<0.1


        Predicted salaries were computed for each individual within the
                                                                         sample. Average
predicted values were then calculated by rank and gender. Chart 3 shows the
                                                                              average residuals
(average actual minus average predicted salary) by rank and gender for
                                                                        College of Law faculty
included in Model 1. The chart shows that at the Professor rank female
law tended to be paid less than the                                     faculty in the College of
                                    predicted average, while on average male faculty at that rank
appeared to be paid over the predicted average The residuals
                                                              suggested an inverse trend at the
Associate Professor rank where women on
                                            average were paid over the predicted value while men
were on average paid below the
                                 expected value.



                    Chart 1: Average Actual Minus Expected Salary by Rank and Gender




        $(4,000)      $01.000)       400U)           $0.000)                 5         at=          52,000
                                                 in Male   •   I-   cmak




Model 2: Professors Only
                                                               9
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 Table 5a presents summary statistics for Model 2: Professors Only.


              Variable               Obs            Mean                    Std. Dev.               Min          Max
 Salary (2014-15)                      14               151,766                  21,249               118,000      187,430
 Years Since Degree                    14                  26.50                      11.54               4.00         45.00
 Years in Rank                        14                    4.60                      3.05                0.03          8.02
 Years Tenured                        14                    6.59   _
                                                                                      4.73                0.00         13.03
 Years Since Hire                     14                    8.07                  •
                                                                                      4.10                0.03         13.05
 Publications                         14                    8.00                      6.48                0.00         20.00
 I. Excludes College of Law Dean




         Results from the Professors Only regression model appear in Table 5b below. The model
estimated that on average, when controlling for other factors male faculty in the College of Law
at the rank of Professor earned $20,199 more than their female
                                                                colleagues (P < .01). While males
outnumbered    females by margin of more than two-to-one at the Professor rank during the
                          a

analysis observation period, this finding was unlikely a by-product of frequency alone and may
have resulted from a number of factors that could not be observed using the available data.



                                    Table 5b: Model Results (College of Law: Professors)

                                                                                              (1)
                                   VARIABLES                                             Salary

                                   Years Since Degree                                    670.2
                                                                                         (444.5)
                                   Years Since Hire                                     -4568**
                                                                                         (1641)
                                   Male                                                  20199*
                                                                                         (9277)
                                   Years Tenured                                        4044**
                                                                                         (1316)
                                   Constant                                            131229***
                                                                                        (12803)

                                   Observations                                               14
                                   R-squared                                             0.618
                                                   Standard errors  in parentheses
                                                  ***
                                                        p<0.01, ** p<0.05, p<0.1
                                                                            *




        The number of years tenured also appears to be a significant predictor of salaries at the
Professor rank in the College of Law, with each additional year since tenure attainment on
average accounting for $4,044 in additional salary (P < .05) when controlling for other factors.
The number of years since degree attainment also appeared to have been a significant predictor
for salaries at this rank with each additional year since degree attainment accounting for
approximately $670 in additional salary. Finally, the stepwise regression model estimated an
inverse relationship between salary and years since hire. The model estimates that each
additional year since hire accounted for approximately $4,568 less in salary. This finding is
likely due to lower salaries offered to instructional faculty during the college's early years
coupled with more modest salary increases over time.
                                                                       10
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Model 3: Associate Professor Model

         Sumrnary statistics for and Model 3: Associate Professors, are presented in Table 6a.




          Variable         Obs            Mean                Std. Dev.                   Min            Max
 Salar   2014-15             14                111,609              11,066                      86,727     136,960
 Years Since Delree          14                    20.71                7.18                      6.00         31.00
 Years in Rank               14                     3.24                2.70                      0.03          8.97
 Years Tenured               14                     1.08                1.50                      0.00          4.02
 Years Since Hire            14                     6.79                3.17                      1.02         11.13
 Publications                14                     5.14                3.93                      0.00         13.00



         Statistical results for the Associate Professors model are presented in Table 6b below.
With respect to Associate Professors in the College of Law, Model 3 finds that when
                                                                                         controlling
for other factors included in the model, on average salaries for male instructional
                                                                                     faculty were
$5,395 greater than that of their female counterparts. However, the difference was not
statistically. Following a trend similar to those observed in Models and 2, the number of years
                                                                                            1


since earning tenure appeared to have had a positive effect on salaries. For the Associate
Professor sub-sample, each additional year since tenure attainment translated to
                                                                                    $3,423 more in
annual salary (P < .01).



                           Table 6b: Model Results (College of Law: Associate Professor)

                                                                                  (1)
                              VARIABLES                                         Salary

                              Years Since Degree                                476.4*
                                                                                (235.1)
                              Years Since Hire                                 -1641**
                                                                                (660.0)
                              Years In Rank                                     956.3
                                                                               (589.2)
                              Years Tenured                                    3423***
                                                                               (919.5)
                              Administrator                                 -30668***
                                                                               (6929)
                              Male                                              5395
                                                                               (3672)
                              Constant                                      106731***
                                                                               (6121)

                              Observations                                        14
                              R-squared                                        0.912
                                              Standard errors in parentheses
                                             ***
                                                   p<0.01, ** p<0.05,     p<O.1




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         While the number of years since tenure had a positive effect in the model, the number of
years since hire had a negative effect on salaries for Associate Professors in the College of Law
(P < .1). Each unit increase in the number of years since being hired at FAMU equated to $1,641
less in salary when controlling for other factors (P < .05). As was the case for Assistant
Professors, the inverse relationship between time since hire and salary at Associate Professor
level may have been, in part, due to more recently recruited faculty being recruited at
                                                                                         higher
initial salaries while longer-term faculty who started at lower rates may have experienced more
constrained salary growth. The number of years since degree attainment appears to have had a
significant positive effect on salaries at the Associate Professor rank with each additional year
since degree attainment accounting for approximately $476 in additional salary (P < .1).

        The significant negative effect relating to the effects of administrative assignments was
most likely a by-product of the model's small sample size and the fact that
                                                                               only one observation
in the sub-sample held any type of administrative assignment during the observation
                                                                                         period.


Model 4: Instructors Model

        Model 4 which included College of Law instructional faculty at the Instructor rank. Three
variables included in the Professors and Associate Professors, Professors only and Associate
Professors only models were excluded from the Instructors model. First, the number of years
since tenure attainment was excluded from the stepwise model as faculty at the instructor rank
are not tenure eligible. The second variable excluded from the model was the number of
publications produced due to the lack of data for this metric. Finally, due to the fact that no
College of Law faculty at the Instructor rank had any administrative duties within the College,
the dummy indicator for this predictor was also excluded. Summary statistics for the variables
included in the Instructors stepwise regression model are presented in Table 7a.


  'fable 7a: Model 4 Summary Stalistics: Collette of Law Salary Egoity Stady Instructors Soh-sample (2014-1Fo
         Variable            Obs
                                         Mean.             Std. Dev.
                                                            •
                                                                                Min                Max
 Salary (2014-15)              13             77,494              8,474               65,455             89,580   -




 Years Since Degree            13               15.62              6.85                 5.00              32.00
 Years in Rank                 13               3.08               2.46                 0.03               8.02
 Years Since Hire              13               3.74               2.22                  .19               8.02




Only one of the four variables included in the Instructors Only stepwise regression model
achieved significance. The model estimated a positive and significant
                                                                        relationship between years
since hire and average salaries at the Instructor rank with each additional year since hire
accounting for approximately $2,062 in additional salary. The positive effect of this variable in
the Instructors Only model is likely attributable to the average smaller number of
                                                                                     years since hire
for instructional faculty at this rank.




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                              VARIABLES                                Salary

                              Years Since Hire                         2062*
                                                                      (968.3)
                              Constant                               69779***
                                                                       (4170)

                              Observations                               13
                              R-squared                                0.292
                                           Standard errors  in parentheses
                                          ***
                                                p<0.01, ** p<0.05, *p<0.1


Conclusion and Recommendations:

        Model   1
                 (Professors and Associate Professors) suggests that gender, years tenured, and
rank played significant roles in determining salaries. With
                                                              respect to gender, the model found
that when controlling for other factors, on average female faculty in the
                                                                              study sample earned less
than their male counterparts. The number of years since tenure attainment was
                                                                                     positively
correlated with salaries at this rank. At the same time, the number of years since hire was
negatively correlated. This is likely attributable to lower initial salaries for longer serving faculty
coupled with modest salary increases over time. Unsurprisingly, the model found higher salaries
on average for Professors when
                                   compared to instructional faculty at the Associate Professor rank.

        Focusing exclusively on College of Law faculty at the Professor rank, the results from
Model 2 suggest that in general female faculty at the Professor rank in the FAMU of
                                                                                        College
earned less than their male counterparts.
                                          Notwithstanding these findings, the extent to which
gender alone explains these differences is unclear. While the data and findings resulting from
this analysis suggest that gender-based salary disparities exist within the College of Law at the
Professor rank, a more in-depth qualitative analysis examining additional factors that could not
be modeled due to sample size or data availability in university data files is recommended.

        Model 3 (Associates Professors) finds that on average females earn less than their male
counterparts. The difference is not, however, statistically significant in the model. The number of
years since hire does appear to be an important factor for explaining salary disparities at this
rank. Lower hiring salaries coupled with modest salary increases over time for
                                                                                    longer serving
faculty at this rank is the likely explanation for this pattern. It may also be mediated by the
number of years since earning tenure.

        The Instructors Only Model (Model 4) suggests that the number of
                                                                              years since hire
appears to be the most important factor in determining salaries at the Instructor Rank. While
female instructional faculty members at the Instructor rank have historically had higher average
salaries than their male counterparts, gender does not appear to be a
                                                                      significant predictor of
salaries at the Instructor rank.

       The consistent findings relating to the positive effects of tenure on
                                                                                faculty salaries are not
surprising. Tenure attainment suggests that a faculty member has satisfied a number of academic
and professional demands. It is also worth noting that this metric may have masked the
influences of other factors such as years in rank and years since degree due to the small sample
size. Given the quantitative limitations imposed
                                                     by a small sample size, and the limited amount
of data available in official university data files, the OIR recommends that the
                                                                                   College of Law
                                                         13
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engage in a qualitative assessment factors that have historically contributed to initial salary
offers, as well as to pay increases for faculty within the college.

        It is worth noting that four instructional faculty in the study sample were hired after the
College of Law attained accreditation in 2009. This included two instructional faculty at the rank
of Professor (one male and one female), and two at the Associate Professor rank (one male and
one female). In each case, salaries for newly hired male faculty exceeded those of female hires.
Again, these variations may be due to effects that could not be modeled in the current analysis.
In any case, an in-depth analysis accounting for variations in faculty
                                                                         productivity and workloads,
prior professional experience, pre-hire salary history, publication productivity, instruction quality
and community service among others may provide additional context for
                                                                             understanding
differences in FAMU College of Law instructional faculty salaries.




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References

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                                                                     ELMIRA MANGUM, Ph.D., PRESIDENT
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                                                                                                                               FAN: (850) 561-2152
                                                                                                                               tux (850) 561-2784
    OFFICE OF THE PRESIDENT




               MEMORANDUM

               TO:                     Provost, Vice Presidents, Deans, Directors,
                                                                                         Department fleads and Chairpersons
               FROM:                   Elmira Mangum
                                       President                ',
                                                   40,
               DATE:                  July 13, 2016

               SUBJECT:               Cost of Living Adjustment (COLA), One-Time
                                                                                            Lump Sum Payment and Merit
                                      Increase Payment for Education and General funded
                                                                                                     positions
              On behalf of Florida A&M University Board of
                                                             Trustees, I am pleased to announce that Education
              and General (E&G) funding has been set aside to
                                                                provide a cost of living adjustment and lump
              surn payment to each          salaried
                                   eligible          (non-OPS) employee.
             This cost of living
                                 adjustment and lump sum payment will be afforded to eligible Out-of-Unit
             Faculty, Administrative and Professional (A&P), and
                                                                        University Support Personnel System
             (USPS) employees whose positions are not covered by a collective
                                                                                bargaining agreement. Eligible
             employees will receive a one percent (1%) cost of living adjustment and a one
             sum payment effective July 1, 2016. Cost of                                     percent (1%) lump
                                                             living adjustments shall be made to base salaries,
             while the lump sum payment shall be one-time. These
                                                                        changes will be reflected on the salary
             warrant date of Friday, July 22, 2016 for the
                                                           pay period 07/01/2016 07/14/2016.     -




             Eligibility Criteria
                        •
                              Out-of-Unit Faculty, Administrative and Professional
                                                                                   (A&P), and University Support
                              Personnel System (USPS)
                                                        employees whose positions are not covered by a collective
                              bargaining agreement must have been employed by the University before
                              and continuously                                                      January 1, 2016
                                               employed through June 16, 2016.
                    •
                              Employees who have been given notice of non-reappointment or
                                                                                                   separation from
                              employment with the University from July 1, 2015 June 16, 2016 are not
                                                                                                     eligible for the
                                                                                     —




                              cost of living adjustment or lump sum
                                                                    payment.
                    •
                              Employees who have received a promotion, other pay increase or
                              between January 1, 2016 and June 16, 2016 are                  lump sum salary payment
                                                                                  eligible for the 1% cost of living
                              adjustment, only.

                                                                                                                 PLAINTIFF'S
                                                                                                                   EXHIBIT
                                             FAMU IS AN EQUAL
                                                                OPPORTUNITY/EQUAL ACCESS UNIVERSITY
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Cost of Living Adjustment and
                              Lump Sum Payment
Eligibility Criteria
Page Two



Please note that the cost of
                               living adjustment and lump sum payment are compensation subject to
collective bargaining for in-unit
                              employees whose positions are covered by collective bargaining
agreements between the FAMU BOT and the Florida Police Benevolent
                                                                     Association (PBA), the
American Federation of State, County and
                                         Municipal Employees (AFSCME) and the United
Faculty of Florida (UFF).

Please note also that the
                          University is committed to administering a 1% merit increase to base
salaries of eligible          in
                      employees                based on
                                    January, 2017,          2015-2016                   The eligibility
criteria for this increase will be communicated at a later date. It will performance.
                                                                               be
                                                                          also    subject to collective
bargaining for in-unit employees.

It is always a pleasure to
                           recognize and reward those who provide such essential services
throughout the entire University community. Thank you for continuing to deliver high
work and excellent customer service.                                                 quality
